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                                                                                Eastern Distfioh of Kenti~cky
                                                                                       FILED

                                                                                     JUN 0 9 2005
                                                                                        A T LEXINGTON
                                 UNITED STATES DISTRICT COURT                         LESLIE G WHITMER
                                                                                  CLERK U S DISTQICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                      LEXINGTON DIVISION

 REPUBLIC SERVICES, INC.,

                 PLAINTIFF

 V.                                                      CIVIL ACTION NO. 03-494 KSF
 LIBERTY MUTUAL INSURANCE                               ELECTRONICALLY FILED
 COMPANY, LIBERTY INSURANCE
 ACQUISITION CORPORATION W a
 LIBERTY MUTUAL FIRE INSURANCE
 COMPANY, LIBERTY INSURANCE
 CORPORATION, LM INSURANCE
 CORPORATION, THE FIRST LIBERTY
 INSURANCE CORPORATION and
 HELMSMAN MANAGEMENT SERVICES,
 INC.,
           DEFENDANTS.

                         AMENDED ANSWER AND COUNTERCLAIM
                                        * * * * *
         Defendants, Liberty Mutual Insurance Company, Liberty Insurance Acquisition

 Corporation, Uk/a Liberty Mutual Fire Insurance Company, Liberty Insurance Corporation, LM

 Insurance Corporation, The First Liberty Insurance Corporation, and Helmsman Management

 Service, Inc. (the “Liberty Companies”), for their Counterclaim against Plaintiff, Republic

 Services, Inc. (“Republic”), state:

                                            COUNT I

         1.      The Liberty Companies and Republic entered into a contractual relationship

 whereby the Liberty Companies provided workers’ compensation insurance and claims

 administration services to Republic for three consecutive annual terms beginning July 1998, July

 1999, and July 2000 (the Worker’s Compensation Program”).


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         2.      The parties’ contract concerning the Worker’s Compensation Program consists of

 the following documents, all of which have been produced to Republic in this litigation:

                 (a)     Liberty Mutual Workers’ Compensation and Employer Liability Policy -

 Insured, Republic Services, Inc.; Policy # WA2-C5D-004207-0 18; Policy Period 06/30/98 -

 06/30/99; Bates labeled LM-000001-LM-000174.

                 (b)     Liberty Mutual Workers’ Compensation and Employer Liability Policy -

 Insured, Republic Services, Inc.; Policy # WA2-65D-004207-019; Policy Period 06/30/99 -

 06/30/00; Bates labeled LM-000175-LM-000400,

                 (c)     Liberty Mutual Workers’ Compensation and Employer Liability Policy -

 Insured, Republic Services, Inc. ; Policy # WA7-75D-004207-010; Policy Period 06/30/00 -

 06/30/01; Bates labeled LM-000401-LM000643.

                 (d)     Liberty Mutual Workers’ Compensation and Employer Liability Policy -

 Insured, Republic Services, Inc.; Policy # WC2-C5 1-004207-028; Policy Period 06/30/98 -

 06/30/99; Bates labeled LM-000644-LM-000715,

                 (e)     Liberty Mutual Workers’ Compensation and Employer Liability Policy -

 Insured, Republic Services, Inc.; Policy # WC2-65 1-004207-029; Policy Period 06/30/99 -

 06/30/00; Bates labeled LM-0007 16-LM-000800.

                 (4      Liberty Mutual Workers’ Compensation and Employer Liability Policy -

 Insured, Republic Services, Inc.; Policy # WC7-75 1-004207-020;Policy Period 06/30/00 -

 06/30/01; Bates labeled LM-000801 -LM000870.

                 (g)     Liberty Mutual Excess Insurance Policy for Self-Insurance of Workers’

 Compensation and Employer Liability Policy; Insured, Republic Services, Inc.; Policy # EW7-

 65N-004207-038; Policy Period 06/30/98 - 06/30/99; Bates labeled LM-000871-LM-000914.



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                  (h)      Liberty Mutual Excess Insurance Policy for Self-Insurance of Workers’

 Compensation and Employer Liability Policy - Insured, Republic Services, Inc.; Policy # EW7-

 65N-004207-039; Policy Period 06130199 - 06130100; LM-000915-LM-000973.

                  (i)      Liberty Mutual Excess Insurance Policy for Self-Insurance of Workers’

 Compensation and Employer Liability Policy - Insured, Republic Services, Inc.; Policy # EW7-

 75N-004207-030; Policy Period 06/30/00 - 06130101; Bates labeled LM-000974-LM-001016.

                  6)       Liberty Mutual Excess Indemnity Insurance Policy - Insured, Republic

 Services, Inc. and Helmsman Service Agreement; Policy # EH1-65 1-004207-048; Policy Period

 06130198 - 06130199; Bates labeled LM-001056-LM-001096.

                  (k)      Liberty Mutual Excess Indemnity Insurance Policy - Insures, Republic

 Services, Inc., Policy # EH1-651-004207-049; Policy Period 06130199 - 06/30/00; Bates labeled

 LM 004967 - LM 004999.

                  (1)      Liberty Mutual Policy Jacket for Workers’ Compensation and Employer’s

 Liability Insurance Policy; Bates Labeled LM 005038 - LM 005043.

                  (m)      Amendment Two Helmsman Service Agreement Number: WP8-C5B-

 004207-058; Bates labeled LM 005000 - LM 005012.

                  (n)      Indemnity Agreement; Bates labeled LM 005013 - LM 005037.

                  (0)      Renewal binder for policies WA2-65D-004207-019, WC2-65 1-004207-

 029, EW7-65N-004207-039, and EH1-65 1-004207-049, effective 6130199, including list of

 named insureds; Bates labeled LM-001137-LM-001152.

                  (p)      Renewal binder for policies WA7-75D-004207-010, WC7-75 1-004207-

 020, and EW7-75N-004207-030, effective 6/30/00; Bates labeled LM-001269-LM-001272.




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                (9)       Republic Services, Inc. 2000 Workers’ Compensation Partnership

 Agreement; Bates Labeled LM-001269 - LM-001272.

                (r)       Republic Services, Inc. 2000 Letter of Credit & Surety Bond Security

 Schedule; Bates Labeled LM-001017 - LM-00-1031

                (s)       Republic Services, Inc. 1999 Letter of Credit & Surety Bond Schedule -

 Bates Labeled LM-00-103 1 - LM-00-1047.

        3.      The Plaintiff, Republic, is taking the position that its contract with the Liberty

 Companies relating to the Workers’ Compensation Program includes additional documents

 referred to as “Special Service Instructions” and “Minimum Customer Requirements.”

        4.      The Liberty Companies dispute that position and maintain that the Special Service

 Instructions and Minimum Customer Requirements are not part of the parties’ contract.

        5.      There exists an actual case or controversy between the parties as to which

 documents are or are not included in the parties’ contract; therefore, the Liberty Companies

 submit that they are entitled to a declaratory judgment pursuant to 28 USC 92201 or KRS

 418.040 on this issue.

                                             COUNT II

        6.      All the allegations set forth above are reiterated and incorporated herein by

 reference.

        7.      The Liberty Companies maintain that pursuant to the parties’ contract, the Liberty

 Companies have the right to defend and/or settle workers’ compensation claims asserted against

 Republic during the policy years and that they do not have to obtain Republic’s prior consent or

 authorization to settle any claim. In addition, the Liberty Companies maintain that under the

 contract, they have the right to consummate settlements, including structured settlements, using

 brokers and/or annuity companies selected by the Liberty Companies.

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         8.       Republic has taken the position that it has a contractual right to require its prior

 authorization before any workers’ compensation claim can be settled by the Liberty Companies

 and that it has the right to select the brokers and/or annuity companies to handle any structured

 settlement of workers’ compensation claims by the Liberty Companies.

         9.       There is an actual case or controversy regarding the parties’ conflicting

 interpretations of their contract; therefore, the Liberty Companies are entitled to a declaratory

 judgment pursuant to 28 USC $2201 or KRS 418.040 on these issues.

                                               COUNT III

         10.      All of the allegations set forth above are reiterated and incorporated herein by

 reference.

         11.      The Liberty Companies and Republic entered into the 2000 Workers’

 Compensation Partnership Agreement dated September 6,2000, Bates labeled LM-001269 -

 LM-001272 (the “Partnership Agreement”).

          12.     According to the Partnership Agreement, Liberty Mutual guaranteed that

 Republic’s workers’ compensation paid loss rate for the plan period beginning June 30, 2000,

 would fall within a neutral range of 3.669 and 4.485.

          13.     The Partnership Agreement hrther provided that if Republic’s paid workers’

 compensation loss rate fell below the neutral range, Liberty Mutual would receive additional

 compensation as a bonus; however, if Republic’s workers’ compensation paid loss rate was

 higher than the neutral range, then Liberty Mutual’s compensation would be reduced by a

 specified amount.

          14.     By virtue of the Partnership Agreement, the parties established liquidated

 damages to which Republic would be entitled in the event the Liberty Companies managed the

 workers’ compensation claims such that the loss rate was higher than the neutral range.


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        15.     To the extent Republic is seeking to recover monetary damages from the Liberty

 Companies in excess of the liquidated damages amount specified in the Partnership Agreement

 in connection with the Liberty Companies’ handling of workers’ compensation claims for the

 plan period beginning July 30,2000 through July 30, 2001, those claims should be barred.

        16.     The Liberty Companies are entitled to a declaratoIyjudgment as to the effect of

 the Partnership Agreement pursuant to 28 USC $2201 or KRS 418.040.

        WHEREFORE, the Liberty Companies request the following relief:

                1.      Declaratory judgment;

                2.      Award of any damages to which it may be entitled as a result of the

 Plaintiffs failure to comply with the parties’ contract;

                3.      Recovery of its court costs and attorney’s fees incurred herein; and

                4.      Any and all other relief to which it may be entitled.



                                               sfGregory P. Parsons
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                                               THE LIBERTY COMPANIES




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on                  , 2005, I electronically filed the foregoing
 with the clerk of the court by using the CM/ECF system. I hrther certify that I mailed a copy of
 the foregoing document and the notice of electronic filing by first-class mail to the following
 non-CM/ECF participants:


 Brent L. Caldwell, Esq.
 Robert E. Mach, 111, Esq.
 McBrayer, McGinnis, Leslie & Kirkland, PLLC
 201 East Main Street, Suite 1000
 Lexington, Kentucky 40507
 COUNSEL FOR PLATNTIFF,
 REPUBLIC SERVICES, INC.

 on this the             day of          ,2005.


 s/Gregory P. Parsons




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